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IN THE UNITED STATES DISTRICT COURT casniastokeede be

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EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

PATIENT TRANSFER SERVICE, INC.,
DONALD WISE, KEVIN WISE, and
SHIRLEY WALLACE,

JURY TRIAL DEMANDED

Defendants.

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This case assigned to District tndaelReasca

and to Maqistrale Judge CAV ain COMA

COMPLAINT
Plaintiff, the United States of America, for its complaint
alleges as follows:
I. INTRODUCTION
1. This is an action brought by the United States to recov
treble damages and civil penalties under the False Claims Act,

U.S.C. §§ 3729-33, to recover all available damages for unju

enrichment, and payment under mistake of fact, and to vol

fraudulent conveyances and secure any and all other appropria
remedies, including pre-judgment remedies, under the Federal De
Collection Procedure Act, 28 U.S.C. § 3001, et seg. These clai
arise out of the submission of false claims to the United State

and specifically the Medicare and Medicaid programs, f

reimbursement of ambulance transport services for dialysi

patients, and further arise out of fraudulent transfers of asset

which transfers were intended to and/or had the effect of impairi

 

 
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and impeding the rights of the United States in obtaining recovery
of debts owed to it.
Ir. JURISDICTION AND VENUE

2. This action arises under the False Claims Act, as amended
31 U.S.C. §§ 3729-3733, the Federal Debt Collection Procedure Act,
28 U.S.C. § 3001, et seg., and at common law. This Court has
subject matter jurisdiction over this action pursuant to 28 U.S.C.
§§ 1345 and 1331.

3. This Court has personal jurisdiction over the defendants
because they prepared and submitted their false claims and false
statements to the United States, and/or were unjustly enriched,
and/or engaged in fraudulent transfers in and from this district.

4. Venue is proper in this district under 28 U.S.C. §§
1391 (b) and 1391(c), and under 31 U.S.C. § 3732(a). At least one
defendant can be found, resides, and transacts business within the
district, and the acts proscribed by the False Claims Act occurred
within the district.

Tit. PARTIES

5. Plaintiff is the United States of America, acting on behalf
of the United States Department of Health and Human Services (HHS).
HHS is an agency and instrumentality of the United States and its
activities, operations and contracts are paid from federal funds.
HHS has delegated the administration of the Medicare Program to its
component agency, which at all times relevant to this Complaint was

known as the Health Care Financing Administration (HCFA). {HCFA
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has since changed its name to Centers for Medicare and Medicaid
Services (CMS}).

6. Defendant Patient Transfer Service, Inc. (PTS) is a
corporation organized and existing under the laws of the State of
Arkansas. At all times relevant to the Complaint, PTS provided
emergency and non-emergency ambulance transportation in northeast
Arkansas. At all times relevant to the Complaint, PTS was a
participant in the Medicare and Medicaid programs within the
Eastern District of Arkansas and provided ambulance services in
that District.

7. Defendant Donald Wise is a citizen and resident of the
State of Arkansas and is subject to the jurisdiction of this Court.
At all times relevant to the Complaint, Donald Wise has been the
sole owner of PTS.

8. Defendant Kevin Wise is a citizen and resident of the State
of Arkansas and is subject to the jurisdiction of this Court.
Kevin Wise has worked at PTS since approximately 1988. Since at
least 1993, Kevin Wise has served as the General Manager of PTS.
Kevin Wise is the brother of defendant Donald Wise.

9. Defendant Shirley Wallace is a citizen and resident of the
State of Arkansas and is subject to the jurisdiction of this Court.
Since approximately 1991, Wallace has been the Office Manager of

PTS. Wallace is a cousin of Donald and Kevin Wise.
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Iv. OPERATION OF THE MEDICARE AND MEDICAID PROGRAMS

10. Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395,
et seq., establishes the Health Insurance for Aged and Disabled
Program, popularly known as the Medicare program.

11. The Medicare program is comprised of two parts. Part A,
which is not at issue in this case, provides hospitalization
insurance for eligible individuals. 42 U.S.C. §§ 1395c¢ - 13951i-5.
Part B is a voluntary subscription program of supplementary medical
insurance covering items and services other than hospitalization
expenses, such as charges for ambulance transportation. 42 U.S.C.
§ 1395k(a) (2) (B). An enrolled individual who receives a covered
medical service can either pay for the service herself, and request
reimbursement of 80% of the reasonable charge, or assign the right
to reimbursement to the provider rendering the service, who
collects as an assignee of the beneficiary under 42 U.S.C. 8
1395u(b) (3) (B) (ii).

12. Reimbursement for Medicare claims is made by the United
States through HCFA. HCFA, in turn, assigns the task of paying
Part B claims from the Medicare Trust Fund to private insurance
carriers under 42 U.S.C. § 1395u. HHS, through HCFA, administers
the Medicare Part B Program in the State of Arkansas through a
private insurance carrier, Arkansas Blue Cross and Blue Shield, A
Mutual Insurance Company (Blue Cross).

13. As the administrator for the Medicare Part B insurance
program in Arkansas, Blue Cross receives requests for payment from

ambulance providers, such as PTS, for medical services furnished to
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Medicare beneficiaries. Ambulance providers bill for services
rendered to Medicare beneficiaries by submitting a Health Insurance
Claim Form ("Medicare claim form") to Blue Cross. The Medicare
claim form used by ambulance providers is known as the HCFA~-1490
form. The provider furnishes and certifies to certain information
on the HCFA-1490, including the identity of the patient, the
provider number, the procedure code number, and a brief narrative
explaining the diagnosis and the medical necessity for the service
rendered. In submitting Medicare claim forms, including the HCFA-
1490, providers must certify that the information included on the
form presents an accurate description of the services rendered and
that the services were medically necessary.

14. Because it would not be feasible to review medical
documentation before paying each claim, Blue Cross generally makes
payment under Medicare Part B on the basis of the providers’
certification included on the Medicare claim form.

15. Title XIX of the Social Security Act, 42 U.S.C. §§ 1396,
et seg., establishes the Medicaid program. Medicaid is a joint
federal-state program that provides health care benefits for
certain groups, primarily the poor and disabled. The United States
provides matching funds to a state to fund the program and also
ensures that the state complies with minimum standards in the
administration of the program

16. Each state must have a single State agency to administer

the Medicaid pregram. 42 U.S.C. § 1396a{a) (5). The Arkansas
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Medicaid program is administered by the Arkansas Department of
Human Services, Division of Medical Services (DMS).

17. Ambulance providers bill Medicaid for services provided
to Medicaid beneficiaries by submitting claim forms to DMS or its
agent. As with Medicare, these claim forms contain certain
information regarding the service provided, upon which DMS relies
in making payment to the ambulance provider.

Vv. GENERAL ALLEGATIONS

 

A. MEDICARE RULES FOR TRANSPORT OF DIALYSIS PATIENTS

18. Beginning in or around 1991, PTS became a participant in
the Medicare Part B Program and began submitting claims to Blue
Cross seeking Medicare reimbursement for ambulance services
provided to patients who assigned their right of reimbursement to
PTS. Also beginning in or around 1991, PTS transported a) regular
PTS customers to and from their places of residence for outpatient
dialysis treatment, and b) other customers for emergency and non-
emergency medical treatment.

19. Medicare does not pay for any and all services furnished
to beneficiaries, but only those which are "reasonable and
necessary for the diagnosis or treatment of illness or injury ..."
42 U.S.C. § 1395y(a){1) (A). With respect to ambulance services in
particular, Medicare covers such services only "where the use of
other methods of transportation is contraindicated by the
individual's condition, but only to the extent provided in

regulations." 42 U.S.C. § 1395x(s) (7).
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20. The Medicare regulations in effect during most of the time
relevant to this Complaint (i.e., prior to February 24, 1999)
provided that Medicare Part B would pay for ambulance services only
if “other means of transportation would endanger the beneficiary's
health." See 42 C.F.R. § 410.40(b) (1) (1998).

21. The Medicare Carriers Manual, which sets forth the rules
and regulations for Medicare reimbursement, further describes the
requirements for coverage of ambulance transport. For example, the
Carriers Manual states:

Medical necessity is established when the patient's

conditicn is such that use of any other method of

transportation is contraindicated. In any case in which

some means of transportation other than an ambulance

could be utilized without endangering the individual's

health, whether or not such transportation is actually
available, no payment may be made for ambulance service.
Carriers Manual at § 2120.2(A).

22. With respect to dialysis patients in particular, the
Carriers Manual states, in relevant part:

A beneficiary receiving maintenance dialysis on an

outpatient basis is not ordinarily ill enough to require

ambulance transportation for dialysis treatment.

Thus, if a claim for ambulance services furnished to a

Maintenance dialysis patient does not show that the

patient's condition requires ambulance services, disallow

it.

Carriers Manual at § 2120.3(J).

23. In addition to the Medicare statutes and regulations and

the Carriers Manual, various materials received by PTS from Blue

Cross and maintained in PTS’ files, including an "Ambulance

Handbook" and a periodic newsletter, further describe the
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requirements for Medicare reimbursement of ambulance services in
general, and dialysis patients in particular.

24. For example, the Blue Cross Ambulance Handbook, which PTS
received and maintained in its files, explains on page i:

Medical necessity is established when the patient's
condition is such that use of any other method of
transportation is contraindicated. No payment may be
made where some means of transportation other than an
ambulance could be utilized without endangering the
individual's health, whether or not such transportation
is actually available,

Blue Cross Ambulance Handbook, Medicare Coverage Requirements § A,
at p. 1.

25. The Ambulance Handbook also restates almost word for word
the Carriers Manual provision regarding dialysis patients:

A beneficiary receiving maintenance dialysis on an
outpatient basis is not ordinarily ill enough to require
ambulance transportation for dialysis treatment.

Thus, if a claim for ambulance services furnished to a
maintenance dialysis patient does not show that the
patient's condition requires ambulance service, it should
be disallowed.

Id., The Destination § I, at p. 6.

26. PTS also received and maintained in its files the
newsletter Blue Cross Provider's News, including the issue dated
December 1, 1994, which stated, among other things:

MEDICAL NECESSITY

Please be reminded that, to be covered, ambulance
services must be medically necessary and reasonable.
According to Medicare guidelines, medical necessity is
established when the patient's condition is such that use
of any other method of transportation is contraindicated.
Ambulance services are NOT covered when some other means
of transportation could be utilized without endangering
the individual's health, whether or not such other
transportation is actually available.
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Provider's News, December 1, 1994 at p. 2.

27. The same issue of the Blue Cross Provider's News also had
a separate article entitled, "Ambulance Services to ESRD [End Stage
Renal Dialysis] Patients for Scheduled Transports," which stated,
among other things:

To be covered, ambulance services must be medically
necessary and reasonable. As you have previously been
advised, medical necessity is established when the
patient's condition is such that use of any other method
of transportation igs contraindicated. No payment can be
made for ambulance services where some other means of
transportation could be utilized without endangering the
individual's health, whether or not such transportation
is actually available. A beneficiary receiving
maintenance dialysis on an outpatient basis is not
ordinarily ill enough to require ambulance transportation
for dialysis treatment.

Td. at p. 5.

28. The regulations regarding ambulance transport were revised
effective February 24, 1999. For services provided on or after
that date, 42 C.F.R. § 410.40, "Coverage of Ambulance Services,"
provides, in relevant part:

ad) Medical necessity requirements--

{1} General rule. Medicare covers ambulance services

only if they are furnished to a beneficiary whose medical

condition is such that other means of transportation

would be contraindicated. For nonemergency ambulance
transportation, the following criteria must be met to
ensure that ambulance transportation is medically

necessary:

(i} The beneficiary is unable to get up from bed without
assistance.

(ii) The beneficiary is unable to ambulate.

(iii) The beneficiary is unable to sit in a chair or
wheelchair.
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Id. Medically necessary transports to and from dialysis facilities
are scheduled and, therefore, are "nonemergency" ambulance
services. 64 Fed. Reg. 3637, 3640 (Jan. 25, 1999) (final rule).

29. In addition, effective February 24, 1999, Medicare
established a requirement that "nonemergency, scheduled ambulance
services," such as maintenance dialysis, are covered only if "the
ambulance supplier, before furnishing the service to the
beneficiary, obtains a written order from the beneficiary's
attending physician certifying that the medical necessity
requirements of paragraph (d)(1) of this section are met." 42
C.FLR. § 410.40(d} (2).

30. To obtain reimbursement for ambulance transport, the
provider must submit and certify to details establishing that
Medicare's medical necessity requirements were met.

B. MEDICAID RULES FOR TRANSPORT OF DIALYSIS PATIENTS

31. Medicaid also applies medical necessity and documentation
requirements for reimbursement of ambulance patients.

Ambulance service for eligible Medicaid recipients is

reimbursable when the ambulance transportation is

medically necessary. It is the responsibility of the
transportation provider to maintain documentation which

will verify the medical necessity of transportation

rendered.

Medicaid Manual: Transportation § 202 at p. II-2.

32. In order for ambulance services to be reimbursable,
Medicaid requires written certification from a physician that

transportation by ambulance is medically necessary. Id., § 211,

212 at p. II-3.

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33. Section 212 "Scope" of the Medicaid Manual describes the
sites to and from which ambulance transport will be covered.
Section 212(b) states that transport may be covered "from the
patient's home or place of residence to a hospital." However, the
section also states that when a recipient is transported to the
hospital, Medicaid will only pay for the transportation if the
recipient is admitted to the hospital, or "when the patient's
condition is an emergency medical condition in compliance with
Section 1867 of the Social Security Act [42 U.S.C. § 1395dd]."

34. The term "emergency medical condition" is defined, in
relevant part, as:

(A) a medical condition manifesting itself by acute

symptoms of sufficient severity (including severe pain)

such that the absence of immediate medical attention

could reasonably be expected to result in-

{i) placing the health of the individual (or, with
respect to a pregnant woman, the health of the
woman or her unborn child) in serious jeopardy,

(ii) serious impairment to bodily functions, or

(iii) serious dysfunction of any bodily organ or part

42 U.S.C. § 1395dd(e} (1) (A).
35. Transportation is covered "[fjrom a hospital to the
patient's home or place of residence following an inpatient

hospital stay." Medicaid Manual: Transportation § 212(i) (emphasis

added) .

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Cc. PTS FALSE CLAIMS FOR TRANSPORT OF DIALYSIS PATIENTS

36. For at least the period June 30, 1997 to approximately
dune 1999, and, we anticipate that a reasonable opportunity for
further investigation and discovery will establish that, for the
period 1991 to June 1999, defendants PTS, Kevin Wise, and Shirley
Wallace knowingly submitted or caused the submission of false
claims to Medicare and Medicaid, and created false records and
statements to get Medicare and Medicaid claims paid, as follows.

37. PTS failed to submit individualized claims for its regular
dialysis patients describing the patients' medical condition on the
day they were transported. Rather, PTS created internal "billing
scenarios" which were used over and over for the same patient,
regardless of the patient's condition on a particular day. PTS
then submitted generic claims to Medicare through Blue Cross and to
Medicaid through DMS in which PTS automatically and mechanically
repeated that the dialysis patient being transported by ambulance
was bed-confined, could only be moved by stretcher, and met the
medical necessity requirements, or similar representations. For
example, during the period 1997-99, virtually every Medicare claim
form submitted by PTS for dialysis patients represented that the
patient was bed-confined and moved by stretcher, and that the
transport was medically necessary, irrespective of the patient's
actual condition.

38. In fact, many of the patients described in paragraph 27
above were not bed-confined or moved by stretcher, and they did not

require ambulance transportation or qualify for ambulance transport

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under Medicare or Medicaid requirements. For example, patients
often walked to or from the ambulance from their homes or the
dialysis center; patients traveled in the front seat cof the
ambulance; and patients walked without assistance during their
visits to the dialysis center.

39. Moreover, PTS claimed on its Medicare claim forms that
patients were bed-confined and moved by stretcher, and that the
transport was medically necessary, even when the information
provided by its own paramedics indicated that the patient was able
to sit, stand, or walk on the day of the ambulance service. For
example, in many instances, the emergency medical services
narrative stated that the patient was walking, sitting in the front
seat of the ambulance, or otherwise did not meet the medical
necessity requirements on the day the patient received ambulance
transport to dialysis treatment. PTS also submitted claims to
Medicaid for ambulance transports that did not meet Medicaid's
requirements for the reasons set forth in paragraphs 36-39.

40. Defendants Kevin Wise and Shirley Wallace instructed PTS
billing clerks to indicate on all Medicare claim forms for dialysis
patients that such patients were bed-confined and moved by
stretcher and that the transport was medically necessary,
regardless of the patient's actual condition. When questioned
about this practice by billing clerks, Kevin Wise and Shirley
Wallace informed the clerks that they had letters of medical
necessity from the patients! doctors, when in fact in many cases

they did not.

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41. In addition, in March 1998, PTS and Kevin Wise instructed
all employees in writing that "[a]1]1 dialysis patients will have to
be transported on stretchers. No patients will be allowed to ride
in the front of the ambulances." In August 1998 PTS, and we
anticipate that a reasonable opportunity for further investigation
and discovery will establish that, Donald Wise, again instructed

all employees in writing that "[a]1l dialysis patients must be

taken into and out of dialysis center on a stretcher. Due to
Medicare requirements, this is mandatory." PTS required its
employees to sign these statements. The purpose of transporting

all dialysis patients on stretchers was to further PTS' frauduient
scheme of billing for all dialysis transports, when in fact many of
the transports were not medically necessary and did not meet the
requirements for Medicare or Medicaid reimbursement.

42. In or around 1993, PTS switched from paper to electronic
claims submission. In January 1993, and again in September 1995,
Kevin Wise, on behalf of PTS, signed agreements certifying that,
among other things, all electronic claims would contain true,
accurate, and complete information; that the provider would be
solely responsible for the accuracy of all electronic claims; and
acknowledging that the claims would be paid from federal funds,
that the submission of electronic claims was a claim to payment
from a federal program, and that anyone who misrepresented or
falsified any record or information related to the claim submission

was subject to fine or imprisonment upon conviction. Prior to

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January 1993, and occasionally after January 1993, PTS submitted
paper Medicare claim forms containing similar certifications.

43. For at least the period June 30, 1997 to approximately
June 1999, and, we anticipate that a reasonable opportunity for
further investigation and discovery will establish that, for the
pericd 1991 to June 1999, defendants PTS, Kevin Wise, and Shirley
Wallace knew, deliberately ignored, or recklessly disregarded that
the claims submitted to Medicare and Medicaid by PTS in which it
described the condition of each dialysis patient on the specific
day the patient was transported were false or fraudulent and did
not represent the accurate physical condition of the patient on
that day, and that PTS was falsely stating that patients were bed-
confined, moved by stretcher, and that the transports were
medically necessary.

44. During the period June 30, 1997 to June 1999, and, we
anticipate that a reasonable opportunity for further investigation
and discovery will establish that, for the period January 1993 to
June 1999, PTS and Kevin Wise knowingly falsely certified to the
truthfulness and accuracy of electronic claim forms submitted to
Medicare for transport of dialysis patients. We further anticipate
that a reasonable opportunity for further discovery will establish
that, for the period 1991 to June 1999, PTS knowingly falsely
certified to the truthfulness and accuracy of paper claim forms
submitted to Medicare for transport of dialysis patients.

45. Medicare and Medicaid would not have paid these claims if

they had known that the patients could sit, stand or walk and/or

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that their physical condition did not contraindicate transportation
by any other means and/or that Medicare and Medicaid's requirements
for reimbursement of ambulance transport otherwise were not met.

46. Defendants PTS and Donald Wise were unjustly enriched by
these false claims in that they received monies to which they were
not entitled.

47. During the period 1997 to 1999, and, we anticipate that a
reasonable opportunity for further investigation and discovery will
establish that, for the period 1991 to June 1999, Donald Wise
transferred large sums of money from the PTS checking account to
his own personal accounts, including approximately $745,000 in 1997
alone. We anticipate that a reasonable opportunity for further
investigation and discovery will establish that these transfers
were not in exchange for any services performed or other value
provided by Donald Wise. Among other things, the transfers were
not made on a regular basis and the amounts transferred varied each
time. In addition, Donald Wise used checks drawn directly on the
PPS checking account to purchase items for his own personal use,
including but not limited to a bulldozer, jewelry, and a tractor.

48. The facts material to plaintiff's right of action
relevant to the allegations of paragraphs 1-47 were unknown to and
reasonably could not have been known to officials of the United
States charged with responsibility to act in the circumstances

until within the time prescribed by the statute of limitations.

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FIRST CAUSE OF ACTION
False Claims Act: Submission of False Claims
Defendants PTS, Kevin Wise, and Shirley Wallace

49. The United States realleges and incorporates by reference
paragraphs 1 through 48 above as if set forth fully herein.

50. By virtue of the acts described above, defendants PTS,
Kevin Wise, and Shirley Wallace knowingly presented or caused to be
presented to the United States false or fraudulent Medicare and
Medicaid claims for payment or approval, in violation of the False
Claims Act, as amended, 31 U.S.C. § 3729(a) (1); that is defendants
PTS, Kevin Wise, and Shirley Wallace knowingly made or presented,
or caused to be made or presented, to the United States claims for
payment for services which were false, in that the services claimed
for were not medically necessary or otherwise did not qualify for
reimbursement under the Medicare or Medicaid programs.

51. By reason of the foregoing, the United States suffered
actual damages in an amount to be determined at trial.

SECOND CAUSE OF ACTION

 

False Claims Act: False Statements to Get a Claim Paid
Defendants PTS, Kevin Wise, and Shirley Wallace
52. The United States reaileges and incorporates by reference
paragraphs 1 through 48 above as if set forth fully herein.
53. By virtue of the acts described above, defendants PTS,
Kevin Wise, and Shirley Wallace knowingly made or used or caused to
be made or used a false record or statement to get a false or

fraudulent Medicare and Medicaid claim paid or approved by the

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United States, in violation of the False Claims Act, as amended, 31
U.S.C. § #3729(a) (2); that is defendants PTS, Kevin Wise, and
Shirley Wallace knowingly made or used or caused to be made or used
false Medicare and Medicaid claim forms and supporting backup
materials, such as internal billing forms, and false certifications
of the truthfulness and accuracy of claims submitted, to get false
or fraudulent Medicare and Medicaid claims paid or approved by the
United States, in that the services claimed for were not medically
necessary or otherwise did not qualify for reimbursement under the
Medicare or Medicaid programs.

54. By reason of the foregoing, the United States suffered
actual damages in an amount to be determined at trial.

THIRD CAUSE OF ACTION

 

Payment under Mistake of Fact/Restitution
Defendant PTS

55. The United States realleges and incorporates by reference
each allegation in paragraphs 1 through 48 as if fully set forth
herein.

56. This is a claim for the recovery of monies paid to
defendant PTS under mistake of fact.

57. The above described false claims and false statements
which defendants PTS, Kevin Wise, and Shirley Wallace submitted to
the United States through Blue Cross and DMS constituted
misrepresentations of material fact in that they misrepresented the
conditions of the patients and therefore the medical necessity for

the transportation, as well as other facts necessary to establish

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entitlement to reimbursement under the Medicare or Medicaid
programs.

58. The United States, acting in reasonable reliance on the
accuracy and truthfulness of the information contained in the
claims, paid PTS certain sums of money to which it was not
entitled, and PTS is thus liable to account for and pay such
amounts, which are to be determined at trial, to the United States.

FOURTH CAUSE OF ACTION
Unjust Enrichment/Restitution
Defendants PTS and Donald Wise

59. The United States realleges and incorporates by reference
each allegation in paragraphs 1 through 48 as if fully set forth
herein.

60. This is a claim for recovery of monies by which defendants
PTS and Donald Wise have been unjustly enriched.

61. By virtue of the false claims and false statements
described above, PTS wrongfully obtained Medicare and Medicaid
funds to which it was not entitled. By virtue of the transactions
described above, Donald Wise indirectly obtained these funds by,
among other things, transferring PTS funds to himself and by
purchasing personal items with funds drawn on the PTS checking
account.

62. By directly or indirectly obtaining Medicare and Medicaid
funds to which they were not entitled, defendants PTS and Donald
Wise were unjustly enriched at the expense of the United States,

and are liable to account and pay such amounts, or the proceeds

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therefrom, which are to be determined at trial, to the United
States.
FIFTH CAUSE OF ACTION
Fraudulent Conveyances Under the
Federal Debt Collection Procedures Act
Defendants PTS and Donald Wise

63. Plaintiff realleges and incorporates by reference each
allegation in paragraphs 1 through 48 as if fully set forth herein.

64. This is a claim for fraudulent conveyances under the
Federal Debt Collection Procedure Act (FDCPA), 28 U.S.C. § 3001, et
seg., and for any and all appropriate remedies available under the
FDCPA.

65. Defendants PTS and Donald Wise were in possession or had
the right to possession of certain property, including without
limitation money and other property held by PTS. Defendants PTS
and Donald Wise knew or should have known of their outstanding debt
to the United States as described in this Complaint. Defendants
PTS and Donald Wise did fraudulently transfer PTS property in order
to avoid paying their debt to the United States (a) with the actual
intent to hinder, delay, and/or defraud the United States, or (b)
by transferring property without obtaining reasonably equivalent
value for that property, or (c) which rendered them insolvent in
regard to the defendants' debt to the United States. Examples of
these fraudulent conveyances include, but are not limited to, the

above-described transfers of cash from PTS to Donald Wise's

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personal accounts and Donald Wise's purchases of personal items
using funds drawn on the PTS checking account.

66. Because the aforementioned transactions were fraudulent
conveyances which were designed to strip or which had the effect of
stripping defendant PTS of assets so that the debt to the United
States was not collectabie, these transactions should be unwound
and the assets should be ordered transferred to the United States
or, in the alternative, defendant Donald Wise should be ordered to
pay the value of these assets to the United States.

67. Due to the above described acts of defendants PTS and
Donald Wise, the United States has been injured because these
defendants have rendered or are attempting to render PTS insolvent
as against the debts owed to the United States.

68. The above acts of defendants PTS and Donald Wise have
Gemonstrated their intent to hinder, delay and defraud the United
States by assigning, disposing, removing, concealing, ill treating,
wasting, destroying, and converting property that would otherwise
be available to satisfy PTS' debts to the United States, or, in the
alternative, that these defendants entered into said transactions
which rendered PTS insolvent in the face of its debt to the United
States. Plaintiff requests that, upon application of the United
States, the property of defendants Donald Wise and PTS be subject
to pre-judgment remedies under the FDCPA, including but not limited

to attachment, receivership, garnishment, and/or sequestration.

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PRAYER FOR RELIEF
WHEREFORE, the United States demands judgment against the
defendants as follows:
As to Counts I & II (False Claims Act):
Against defendants PTS, Kevin Wise and Shirley Wallace, and that
the judgment be for:
1. statutory damages in an amount to be established at trial
and such penalties as are allowed by law;
2. the costs of this action, plus interest, as provided by
law; and
3. any other relief that this Court deems appropriate.
As to Count III (Payment By Mistake of Fact/Restitution):
Against defendant PTS, and that the judgment be for:
L. an amount equal to the money paid by the United States to

PTS, plus interest;

2. the costs of this action, plus interest, as provided by
law; and
3. any other relief that this Court deems appropriate.

As to Count IV (Unjust Enrichment/Restitution)
Against defendants PTS and Donald Wise, and that the judgment be
for:
1. an amount equal to the money paid by the United States to
PTS, and any such amounts transferred to or otherwise
obtained by Donald Wise, plus interest;
2. the costs of this action, plus interest, as provided by

law; and

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3. any other relief that this Court deems appropriate.
As to Count V (FDCPA)

Against defendants PTS and Donald Wise, and that judgment for:

1. an amount equal to the value of all property fraudulently
transferred;
2. a pre-judgment order of attachment, receivership,

garnishment, and/or sequestration as requested by the
United States by separate application upon reasonabie
showing that the United States has reasonable cause to
believe that defendants PTS or Donaid Wise have or are
about to assign, dispose, remove, conceal, ill treat,
waste, destroy, or convert property with the effect of

hindering, delaying, or defrauding the United States;

3. the costs of this action, plus interest, as provided by
law;

4, any other remedies available under the FDCPA; and

5. any other relief that this Court deems appropriate.

MICHAEL D. JOHNSON
ited States Attorney for the

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pated: July 2M, 2001

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